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6                                  UNITED STATES DISTRICT COURT

7                                          DISTRICT OF NEVADA

8                                                       ***

9     TONY HINES,                                         Case No. 2:18-cv-02373-JAD-NJK

10                                      Plaintiff(s),     AMENDED ORDER SETTING INMATE
                                                          EARLY MEDIATION
11    v.

12    JAMES DZURENDA, et al.,

13                                   Defendant(s).

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15             The Court previously issued an order establishing the requirements for the inmate early

16   mediation in this case. Docket No. 25. That order continues to govern the inmate early mediation

17   except as MODIFIED as follows:

18         •   If Plaintiff is incarcerated at a facility utilizing e-filing, Plaintiff must request the law

19             librarian scan Plaintiff’s mediation brief, along with any exhibits, and email it to

20             InmateMediationBrief@nvd.uscourts.gov. If Plaintiff is at a facility not utilizing e-filing,

21             Plaintiff must mail the mediation brief in an envelope clearly marked “Confidential,

22             Contains Mediation Statement” to: Office of the Clerk, Attn: Sharon Hardin, Inmate

23             Mediation Department, 333 Las Vegas Boulevard, South, Las Vegas, Nevada 89101. The

24             mediation brief must be received by the Court no later than 4:00 p.m. on

25             October 23, 2020.

26         •   Defense counsel must scan Defendants’ mediation brief, along with any exhibits, and email

27             it directly to the mediator no later than 4:00 p.m. on October 23, 2020;

28   ///
     Case 2:18-cv-02373-JAD-NJK Document 26 Filed 09/25/20 Page 2 of 2




1      •   At a future date, Ms. Hardin will provide instructions for Defendants to join the mediation

2          by video;

3      •   Defense counsel must make the necessary arrangements for Plaintiff to appear by video

4          conference and must coordinate with Ms. Hardin thereon; and

5      •   Defense counsel must provide the email addresses for each of the participants who will be

6          appearing at the mediation for the defense to Ms. Hardin no later than 4:00 p.m. on

7          October 23, 2020. An email containing an invitation to participate in the mediation will

8          be provided to the attending parties in advance of the mediation.

9          IT IS SO ORDERED.

10         DATED: September 25, 2020

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                                                ______________________________________
13                                              NANCY J. KOPPE
                                                UNITED STATES MAGISTRATE JUDGE
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